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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                    1/12/22
  United States of America,

                 –v–
                                                                    20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                         ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       Counsel for Juror Number 50 has submitted a motion to intervene and to be provided a

copy of the juror’s completed questionnaire and voir dire. The motion has been submitted via

email to allow the parties the opportunity to propose and the Court to consider any necessary

redactions. The parties are ORDERED to submit via email any proposed redactions on or before

January 13, 2022, justifying any such request by reference to the three-part test articulated by

the Second Circuit in Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110 (2d Cir. 2006). If any

redactions are proposed, the Court will determine whether any are appropriate and then docket

the motion.

       The parties shall respond to Juror 50’s motion on or before January 20, 2022. Upon

further reflection, unless and until Juror No. 50 is permitted to intervene, he may have no

standing to be heard on the question of whether an inquiry should be conducted. Accordingly,

the Court withdraws the aspect of its prior order setting January 26, 2022, as the date by which

counsel for Juror 50 should file a submission on the issue of the appropriateness of an inquiry.

Dkt. No. 571. The Court will hear from the parties first regarding Juror 50’s pending motion.

Depending on the resolution of that motion, the Court will provide further guidance to counsel



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for Juror 50 regarding any permitted submission. If a further submission is permitted, the Court

will provide ECF docketing access to counsel for Juror 50 at that time.

       SO ORDERED.



 Dated: January 12, 2022
        New York, New York                       ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge




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